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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                      )                  CASE NO. 20-60681-JWC
                                            )
JOHN JOSEPH OLIGA and                       )                  CHAPTER 7
JEANINE BARKER OLIGA,                       )
                                            )
       Debtors.                             )
                                            )
                                            )
S. GREGORY HAYS, Trustee for the            )
Bankruptcy Estates of John Joseph Oliga and )
Jeanine Barker Oliga,                       )
                                            )
       Movant,                              )                  CONTESTED MATTER
                                            )
V.                                          )
                                            )
DEKALB COUNTY TAX COMMISSIONER, )
JOHN JOSEPH OLIGA and                       )
JEANINE BARKER OLIGA,                       )
                                            )
       Respondents.                         )
                                            )


 MOTION FOR AUTHORITY TO (I) SELL AT PUBLIC AUCTION PROPERTY OF THE
    BANKRUPTCY ESTATE FREE AND CLEAR OF LIENS, INTERESTS, AND
   ENCUMBRANCES AND (II) DISBURSE CERTAIN PROCEEDS AT CLOSING

         COMES NOW S. Gregory Hays, as the Chapter 7 Trustee (the “Trustee”) of the bankruptcy

estates of John Joseph Oliga (“Mr. Oliga”) and Jeanine Barker Oliga (together with Mr. Oliga, the

“Debtors”) and files this Motion for Authority to (I) Sell at Public Auction Property of the Bankruptcy

Estate Free and Clear of All Liens, Interests, and Encumbrances and (II) Disburse Certain Proceeds

at Closing (the “Sale Motion”), pursuant to 11 U.S.C. §§ 363(b) and (f) and Fed. R. Bankr. P.

2002(a)(2), 6004(a), 6004(c) and 9014, other than in the ordinary course of business, and respectfully

shows the Court as follows:



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                                           Jurisdiction

        1.     This Court has jurisdiction to hear this Sale Motion pursuant to 28 U.S.C. §§ 157

and 1334. This Sale Motion presents a core proceeding within the meaning of 28 U.S.C. §

157(b)(2). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           Background

        2.     Debtors filed a voluntary petition constituting an order for relief under Chapter 7 on

January 10, 2020 (the “Petition Date”), initiating Case No. 20-60681-JWC (the “Bankruptcy

Case”).

        3.     On or about January 13, 2020, Trustee was appointed to the Bankruptcy Case as

interim Chapter 7 trustee under 11 U.S.C. § 701(a)(1) [Doc. No. 4].

        4.     The original meeting of creditors was held on February 6, 2020, in accordance with

11 U.S.C. § 341(a) and concluded on April 21, 2020, after which time, the Trustee became the

permanent Chapter 7 trustee, pursuant to 11 U.S.C. § 702(d).

        5.     At the commencement of the Bankruptcy Case, the bankruptcy estates were created

under 11 U.S.C. § 541(a) (collectively, the “Bankruptcy Estate”), and the Bankruptcy Estate

includes all Debtors’ legal or equitable interests in property as of the commencement of the

Bankruptcy Case and any interest in property that the Bankruptcy Estate acquired after

commencement of the Bankruptcy Case. 11 U.S.C. § 541(a)(1) and (7).

        6.     Trustee is the sole representative of the Bankruptcy Estate. 11 U.S.C. § 323(a).

        7.     The duties of Trustee include his obligation to “collect and reduce to money the

property of the estate.” 11 U.S.C. § 704(1).

        8.     On March 30, 2020, Trustee filed his Application to Appoint Attorney for Trustee

[Doc. No. 21], and on March 31, 2020, the Court entered an Order [Doc. No. 22] authorizing the



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appointment of Arnall Golden Gregory LLP as attorneys for Trustee, subject to objection.

                                           a. The Properties

        9.     On their Schedule A/B: Property, Debtors scheduled the ownership of Mr. Oliga in

a certain self-directed IRA (the “Self-Directed IRA”) with a value of $728,914.00. [Doc. No. 10

at page 25 of 61].

        10.    The Self-Directed IRA owned 100% of JCO Investment Assets, LLC (“JCO”), a

State of Utah limited liability company.

        11.    JCO owned the following real properties (collectively, the “Properties”) known

generally as: (a) 2471 Saint Patrick Street, SE, Atlanta, DeKalb County, Georgia 30317 (“2471

Saint Patrick Street”), and (b) 2475 East Tupelo Street, SE, Atlanta, DeKalb County, Georgia

Saint Patrick Street, SE, Atlanta, Georgia 30317 f.k.a. as 2475 Saint Patrick Street, SE, Atlanta,

Georgia 30317 (“2475 East Tupelo Street”).

                     b. Settlement Agreement between Mr. Oliga and Trustee

        12.    On Debtors’ Schedule C: the Property You Claim as Exempt, Mr. Oliga claimed an

exemption in the Self-Directed IRA in the amount of $728,914.00 under O.C.G.A. § 44-13-100,

without referencing the specific subsection under which they were claiming this exemption (the

“Exemption”). [Doc. No. 10 at page 27 of 61].

        13.    After the Section 341 Meeting of Creditors, a review of available documents, and

an investigation by Trustee, Trustee filed an objection [Doc. No. 39] (the “Objection”) to Mr.

Oliga’s claimed Exemption based on various transactions between and amongst Mr. Oliga and

JCO prior to the Petition Date.

        14.    In resolution of the Objection, Mr. Oliga, JCO, and Trustee reached a settlement

agreement whereby JCO would transfer to Trustee the Properties via quitclaim deed (the



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“Settlement Agreement”).

        15.     On August 3, 2021, Trustee filed a Motion for Order Authorizing Compromise and

Settlement with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure [Doc. No.

64] (“Settlement Motion”).

        16.     On September 3, 2021, the Court entered an Order [Doc. No. 67], granting the

Settlement Motion and approving the Settlement Agreement.

        17.     On September 28, 2021, JCO executed a quitclaim deed transferring the Properties

to Trustee.

        18.     Trustee has obtained a full title examination report for each of the Properties, dated

June 3, 2022 and June 9, 2022, respectively. The Properties are unencumbered but for the

Bankruptcy Estate’s pro-ration of 2022 ad valorem real property taxes due the DeKalb County

Tax Commissioner (“DeKalb County”).1

              Request for Authority to Sell the Property of the Bankruptcy Estate
                  Free and Clear of All Liens, Interests, and Encumbrances
                           Pursuant to 11 U.S.C. §§ 363(b) and (f)

        19.     On October 27, 2021, Trustee filed an Application to Employ Real Estate Agent

Under Listing Agreement [Doc. No. 69] (the “Realtor Application”), and, on October 28, 2021,

the Court entered an Order [Doc. No. 70], granting the Realtor Application and authorizing the

employment of Humphries & King Realty and John V. Ball (“Humphries & King”) as Trustee’s

listing agent for the Properties at a six percent (6%) commission of the selling price.

        20.     Trustee received no acceptable offers during the listing period. Humphries &

King’s listing agreement expired on April 18, 2022.



1
        The 2021 tax bills were paid in full on November 10, 2021 in the amounts of $2,226.34
with respect to 2471 Saint Patrick Street and $1,862.49 with respect to 2475 East Tupelo Street.


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        21.       Trustee filed Trustee’s Application to Employ Auctioneer [Doc. No. 72] on May

31, 2022 (the “Auctioneer Application”), and the Court entered an Order [Doc. No. 73] on June

1, 2022, authorizing the employment of Bullseye Auction & Appraisal, LLC (“Bullseye”) as

Trustee’s auctioneer to conduct a sale by public auction, for a seven percent (7%) commission of

the gross sale price for each of the Properties, plus reimbursement of any actual out-of-pocket

expenses up to $500.00.

        22.       Trustee proposes to sell the Properties through a public auction conducted by

Bullseye to the highest and best bidder. The auction is expected to occur within thirty (30) to sixty

(60) days after of this Court’s order approving the Sale Motion.

        23.       Trustee seeks authority from the Court to sell the Properties “as is” and “where is.”

The proposed sale of the Properties is not in the ordinary course of business, as provided by 11

U.S.C. §363(b). Trustee reserves the right to establish a minimum reserve sale price for each of

the Properties.

                                            Legal Analysis

        24.       Section 363 of the Bankruptcy Code authorizes a trustee “after notice and a hearing

. . . [to] use, sell, or lease, other than in the ordinary course of business, property of the estate . . .

.” 11 U.S.C. § 363(b)(1). Section 105 of the Bankruptcy Code grants this Court the authority to

“issue any order, process, or judgment necessary or appropriate to carry out the provisions of this

title.” 11 U.S.C. § 105(a).

        25.       The standard to grant a sale of property outside of the ordinary course of business

is the sound business judgment of the trustee. In re Chateaugay, 973 F.2d 141 (2d Cir. 1992);

Stephens Indus. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re Abbotts Dairies of Penn.,

Inc., 788 F.2d 143 (3d Cir. 1986); Committee of Equity Security Holders v. Lionel Corp. (In re



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Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983). In this regard, a trustee’s showing need not be

exhaustive; rather, a trustee is “simply required to justify the proposed disposition with sound

business reason.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984). In

applying this standard here, because the Properties are effectively unencumbered, their sale will

result in significant funds coming into the Bankruptcy Estate, it is clear that Trustee has a sound

business reason to proceed as requested.

        26.    In turn, Section 363(f) of the Bankruptcy Code authorizes a trustee to sell property

under 11 U.S.C. § 363(b) free and clear of any interest in such property if, among other things, the

price at which the property is to be sold is greater than the aggregate of the liens on such property

or with respect to interests that are in dispute. 11 U.S.C. § 363(f). Specifically, that code section

provides:

        (f) The trustee may sell property under subsection (b) or (c) of this section free and clear

        of any interest in such property of an entity other than the estate, only if-

               (1)     applicable nonbankruptcy law permits sale of such property free and clear
                       of such interest;
               (2)     such entity consents;
               (3)     such interest is a lien and the price at which such property is to be sold is
                       greater than the aggregate value of all liens on such property;
               (4)     such interest is in bona fide dispute; or
               (5)     such entity could be compelled, in a legal or equitable proceeding, to accept
                       a money satisfaction of such interest.
Id.

        27.    The proposed sale of the Properties is one not in the ordinary course of business, as

provided by 11 U.S.C. § 363(b). Trustee can, under 11 U.S.C. § 363(f), sell the Properties free

and clear of all liens, claims, and encumbrances with any lien (to the extent valid, perfected,

enforceable, and unavoidable) attaching to the proceeds of the sale with the same priority and

extent as they had in the Properties.



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        28.    With the exception of ad valorem real property taxes, Trustee does not believe that

there are any liens or encumbrances against the Properties. Therefore, Trustee respectfully

requests authority from the Court to sell the Properties as provided by 11 U.S.C. §§ 363(b) and (f).

                Request for Authority to Disburse Certain Proceeds at Closing

        29.    Trustee moves for authority to have all gross sale proceeds paid to him at closing

and for authority to have paid at closing (a) all outstanding ad valorem real property taxes (none

anticipated), (b) the Bankruptcy Estate’s 2022 pro-ration of ad valorem real property taxes due

DeKalb County; (c) any capital gains taxes (none anticipated); and (d) all other customary closing

costs and all other costs necessary to close the sale of each of the Properties. All other distributions

will be pursuant to further order of this Court.

        30.    To the extent that funds are disbursed at closing by a party other than Trustee, such

party shall be treated as Trustee’s designated and authorized agent for disbursements.

        31.    Because the Properties are effectively unencumbered, other than inchoate, ad

valorem tax liens, Trustee estimates that the proposed sales of the Properties will allow him to

make a meaningful distribution to holders of unsecured claims against the Bankruptcy Estate.

                                      Other Relief Requested

        32.    In addition, Trustee expressly reserves and does not waive his right to surcharge

the Properties and the proceeds thereof, to the extent it secures an allowed secured claim, for

reasonable, necessary costs of preserving or disposing of the Properties to the extent of any benefit

to the holders of such secured claims under 11 U.S.C. § 506(c).

        33.    Trustee requests that the Court waive the stay of the Order approving the proposed

sale as authorized under Federal Rule of Bankruptcy Procedure 6004(h).




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        WHEREFORE, Trustee prays that the Court enter an order (a) granting the Sale Motion;

(b) authorizing Trustee (i) to sell the Properties by public auction, and (ii) to disburse certain

proceeds at closing; (c) waiving the fourteen (14)-day stay period pursuant to Rule 6004(h); and

(d) granting such other and further relief as is just and proper.

               Respectfully submitted this 14th day of June, 2022.

                                               ARNALL GOLDEN GREGORY, LLP
                                               Attorneys for Trustee

                                               By: /s/ Michael J. Bargar
                                                   Michael J. Bargar
                                                   Georgia Bar No. 645709
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Atlanta, Georgia 30363-1031
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                                      CERTIFICATE SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that on this day I have
caused to be served a copy of the foregoing Motion for Authority to (I) Sell at Public Auction Property
of the Bankruptcy Estate Free and Clear of All Liens, Interests, and Encumbrances and (II) Disburse
Certain Proceeds at Closing by depositing in the United States mail a copy of same in a properly
addressed envelope with adequate postage affixed thereon to assure delivery by First Class Mail
and/or Certified Mail, as indicated, to:

Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

John Joseph Oliga
265 Stoneleigh Dr SW
Atlanta, GA 30331-7665

Jeanine Barker Oliga
265 Stoneleigh Dr SW
Atlanta, GA 30331-7665

Will B. Geer
Wiggam & Geer, LLC
Suite 1150
50 Hurt Plaza SE
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Irvin J. Johnson
DeKalb County Tax Commissioner
Property Tax Division
P.O. Box 100004
Decatur, GA 30031-7004




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Scott Kenneth Schwartz
Bullseye Auction & Appraisal, LLC
500 Pike Park Drive, Suite F
Lawrenceville, GA 30046



        This 14th day of June, 2022.

                                                /s/ Michael J. Bargar
                                                Michael J. Bargar
                                                Georgia Bar No. 645709




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